Case 2:24-cv-04786-WLH-ADS            Document 66    Filed 10/30/24   Page 1 of 4 Page ID
                                           #:604


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      continued on next page]
 12
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 13   Redwood Capital Management, LLC
 14
 15                            UNITED STATES DISTRICT COURT
 16                           CENTRAL DISTRICT OF CALIFORNIA
 17   K.A.,                                         CASE NO. 2:24-cv-04786-WLH-ADS
 18                      Plaintiff,                 CERTIFICATION AND NOTICE OF
                                                    INTERESTED PARTIES PURSUANT
 19           vs.                                   TO LOCAL RULE 7.1-1 AND FED. R.
                                                    CIV. P. 7.1
 20   MINDGEEK S.A.R.L. a foreign
      entity; MG FREESITES, LTD., a                 Place:   Courtroom 9B
 21   foreign entity; MINDGEEK USA                  Judge:   Hon. Wesley L. Hsu
      INCORPORATED, a Delaware
 22   corporation; MG PREMIUM LTD,
      a foreign entity; MG GLOBAL                   Complaint filed: June 7, 2024
 23   ENTERTAINMENT INC., a
      Delaware corporation; 9219-1568
 24   QUEBEC, INC., a foreign entity;
      BERND BERGMAIR, a foreign
 25   individual; FERAS ANTOON, a
      foreign individual; DAVID
 26   TASSILLO, a foreign individual;
      VISA INC., a Delaware
 27   corporation; REDWOOD
      CAPITAL MANAGEMENT, LLC,
 28
                    DEFENDANT’S NOTICE OF INTERESTED PARTIES PURSUANT TO
                                      LOCAL RULE 7.1-1
Case 2:24-cv-04786-WLH-ADS   Document 66   Filed 10/30/24   Page 2 of 4 Page ID
                                  #:605


  1   a Delaware limited liability
      company; REDWOOD DOE
  2   FUNDS 1-7; COLBECK CAPITAL
      MANAGEMENT, LLC, a Delaware
  3   company, COLBECK DOE FUNDS
      1-3,
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                   Defendants.
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              DEFENDANT’S NOTICE OF INTERESTED PARTIES PURSUANT TO
                                LOCAL RULE 7.1-1
Case 2:24-cv-04786-WLH-ADS    Document 66    Filed 10/30/24   Page 3 of 4 Page ID
                                   #:606


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              DEFENDANT’S NOTICE OF INTERESTED PARTIES PURSUANT TO
                                LOCAL RULE 7.1-1
Case 2:24-cv-04786-WLH-ADS      Document 66     Filed 10/30/24   Page 4 of 4 Page ID
                                     #:607


  1         Pursuant to Local Rule 7.1-1, the undersigned counsel of record for Defendant
  2   Redwood Capital Management, LLC (“Defendant” or “Redwood”), hereby certifies
  3   that the following listed parties may have a pecuniary interest in the outcome of this
  4   case: (i) MindGeek, S.À.R.L.; (ii) MG Freesites, Ltd.; (iii) MindGeek USA
  5   Incorporated; (iv) MG Premium Ltd.; (v) MG Global Entertainment Inc.; (vi) 9219-
  6   1568 Quebec, Inc.; (vii) Bernd Bergmair; (viii) Feras Antoon; (ix) David Tassillo; (x)
  7   Visa Inc.; (xi) Redwood Capital Management, LLC; (xii) Colbeck Capital
  8   Management, LLC; and (xiii) K.A.
  9         Further, under Rule 7.1 of the Federal Rules of Civil Procedure, Redwood
 10   certifies there is no publicly held corporation that owns 10% or more of Redwood’s
 11   stock and Redwood does not have a “parent corporation.”
 12   DATED: October 30, 2024                   PAUL HASTINGS LLP
 13
 14
                                                    By:/s/James M. Pearl
 15                                                            JAMES M. PEARL
 16                                                 Attorneys for Defendant Redwood
                                                    Capital Management, LLC
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                DEFENDANT’S NOTICE OF INTERESTED PARTIES PURSUANT TO
                                  LOCAL RULE 7.1-1
